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                     Supreme Court of the United States

                                        No. 22–492


                                 KELVIN BUCK, ET AL.,

                                                               Appellants,
                                              v.

                               MICHAEL WATSON, ET AL.


               ON APPEAL to the United States District Court for the Southern District of

Mississippi.

               THIS CAUSE having been submitted on the jurisdictional statement

and the response thereto.

               ON CONSIDERATION WHEREOF, it is ordered and adjudged by this

Court that the appeal is dismissed for want of jurisdiction.


                                     February 21, 2023
